                       Case 8:16-cr-00248-PJM Document 229 Filed 12/18/17 Page 1 of 6
Sheet I • Judgment in a Criminal Case with Supervised Release (Rev. 0712017)                                                                Judement Pa!!c I of 6
                                                                                                                              JH

                                       United States District Court
                                                            District of Maryland
             UNITED STATES OF AMERICA                                           .JUDGMENT IN A CRIMINAL CASE
                                                                                (For Offenses Committed on or After November I. 1987)
                                     v.
                                                                                Case Number: RWT-8-16-CR-00248-002
               NATHAN ANTONIO DAVIS
                                                                                Defendant's Attorney: John Michael McKenna
                                                                                Assistant U.S. Attorney: Jennifer SYfrtfu __                              ENTERED
                                                                                                                         __        LOGGED     __          RECENED

THE DEFENDANT:
181pleaded guilty to counts I and 3 of the Indictment.
                                                                                                                                 DEC 1 If 2017
o pleaded nolo contendere to count(s) __ • which was accepted by the court.                                                          AT GHl:l:Ntsb.l
                                                                                                                              Cl.ERK. U.s. DISTRICT COURT      A
                                                                                                                                                                     ~
                                                                                                                                                                    Iv
o was found guilty on count(s) __ after a plea of not guilty.                                                                    DISTRICT OF MARYlAND          -   VV
                                                                                                                    BY                                         DEPUTY

                                                                                                            Date                                     Count
          Title & Seclion                                    Nature of Offense                       Offense Concluded                             Number!s)
         21 U.S.c.      S 846                   Conspiracy To Possess With The                          12/11/2017                                        1
                                                  Intent To Distribute Cocaine
       18 U.S.C.      S 924(0)                 Conspiracy To Possess Firearms In                        12/11/2017                                        3
                                               Furtherance Of A Drug Trafficking
                                                             Crime




    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2 through
Q of this judgment.  The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as modified by
U.S. v. Booker. 543 U.S. 220 (2005).

o   The defendant has been found not guilty on count(s) __
181 Counts 2. 4 and 5 of the Indictment as to this Defendant only are dismissed on the motion of the United
    States.

     IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.


                                                                                    December 14,2017
                                                                                Date of Imposition    of Judgment


                                                                               ~~                               )rj2f'll3h1kr                      )5',20F7
                                                                                                                                                      /
                                                                  ~~----                                                      Date
                                                                                United States District Judge


Name of Court Reporter:        Lisa Bankins
                          Case 8:16-cr-00248-PJM Document 229 Filed 12/18/17 Page 2 of 6

Sheet 2 - Judgment in a Criminal Case with Supervised Release (Rev. 07(2017)                                               Judgment Page 2 of 6
DEFENF ANT: Nathan Antonio Davis                                                                  CASE NUMBER: RWT-8-16-CR-00248-002


                                                                IMPRISONMENT


    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of 162 months as to count I; 120 months concurrent as to count 3 (Total term of 162
months). Total term to run concurrent with the four vear sentence imposed on December 1,2017 in the
Arlington Countv Circuit Court in case numhers CR06000970-971.


IZI The court makes the following recommendations to the Bureau of Prisons:
    I. That the defendant be designated to Fel - Fairton, NJ for service of his sentence.


IZI The defendant is remanded to the custody of the United States Marshal.

D The defendant shall surrender to the United States Marshal for this district:

     D at __     a.m.lp.m. on __     '
     D as notified by the United States Marshal.

D The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
     at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
     the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

      D before 2pm on

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.C. ~3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.

                                                                         RETURN

I have executed this judgment as follows:

      Defendant delivered on __                    to __        at __          ' with a certified copy of this judgment.



                                                                               UNITED STATES MARSHAL


                                                                               By:                                                         _
                                                                               DEPUTY U.S. MARSHAL
                       Case 8:16-cr-00248-PJM Document 229 Filed 12/18/17 Page 3 of 6
Sheet 3 - Judgment in a Criminal Case with Supervised Release (Rev. 0712017)                                             Judgment Page 3 of 6
DEFENDANT:          Nathan Antonio Davis                                                 CASE NUMBER: RWT-8-16-CR-00248-002


                                                         SUPERVISED            RELEASE
   Upon release from imprisonment, the defendant shall be on supervised release for a tenn of8 years as to
count I and 3 years as to count 3. Terms to run concurrent for a total term of 8 years.

The defendant shall comply with all of the following conditions:

    The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

                                                A.       MANDATORY             CONDITIONS
I)   You must not commit another federal. state or local crime.
2)   You must not unlawfully possess a controlled substance.
3)   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least h\!o periodic drug tests thereafter, as detemlined by the court.
     o    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
     abuse. (check if applicable)
4)   0 You must make restitution in accordance with 18 U.S.c. SS 3663 and 3663A or any other statute authorizing a sentence of
     restitution. (check if applicable)
5)   0 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6)   0 You must comply with the requirements of the Sex Offender Registration and Notification Acl (42 U.S.c. S 16901, el seq.)
     as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
     reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7)   0 You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page
                                B.       STANDARD CONDITIONS                      OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identit)' Ihe minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I)   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
     time frame.
2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     \vhen you must report to the probation officer, and you must report to the probation officer as instructed.
3)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
     the court or the probation officer.
4)   You must answer truthfully the questions asked by your probation officer.
5)   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must nOlit)' the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
     officer within 72 hours of becoming aware of a change or expected change.
6)   You must allo\\' the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7)   You must work full time (at leaSI 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
     from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
     excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notit)' the probation officer at least 10 days before the change. If notit)'ing the probation officer at
     least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours
     of becoming aware ofa change or expected change.
8)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person \vithout first getting the permission of
     the probation officer.
                       Case 8:16-cr-00248-PJM Document 229 Filed 12/18/17 Page 4 of 6

Sheet 4 - Judgment in a Criminal Case with Supervised Release (Rev. 0712017)                                       Judgment Page 4 of 6
DEFENDANT:          Nathan Antonio Davis                                              CASE NUMBER: RWT-8- I6-CR-00248-002

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10) You must not own, possess. or have access to a firearm. ammunition, destructive device. or dangerous weapon (Le., an}1hing that
    was designed, or was modified for. the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13) You must follow the instructions of the probation officer related to the conditions of supervision.


                                                     C. SUPERVISED RELEASE
                                                     ADDITIONAL CONDITIONS


Drug Treatment
C8JYou must participate in a substance abuse treatment program and follow the rules and regulations of that
program. The probation oflicer will supervise your participation in the program (provider, location, modality,
duration, intensity, etc.).

Substance Abuse Testing
C8JYou must submit to substance abuse testing to determine if you have used a prohibited substance. You must
pay the costs of the program as directed by the probation oflicer. You must not attempt to obstruct or tamper
with the testing methods.

Special Assessment
C8JPay special assessment of $200.00




U.S. Probation     Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a wrinen copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: \VWW.lIscourts.~ov.


Defendant's Signature                                                          Date             _
                        Case 8:16-cr-00248-PJM Document 229 Filed 12/18/17 Page 5 of 6

Sheet 5. Part A - Judgment in a Criminal Case with Supervised Rclca~c (Re •....0712017)                                               Judgment Page 5 or 6
DEFENDANT:           Nalhan Antonio Davis                                                                     CASE NUMBER: RWT-8-16-CR-00248-002


                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                              Fine                                 Restitution
  TOTALS                  $200.00                                                 Waived                               N/A
  o       CVB Processing Fee $30.00



 o       The delermination     of restitution is deferred ulltil                          _      An Amended Judgment in a Criminal Case (AO 245C)
                                                                                                 will be entered after such determination.

 o       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. S 3664(i), all non federal
       victims must be paid before the United States is paid.
          Name of Payee                    Total Loss*                  Restitution Ordered               Priorit". or Percentage
                                                                                           $.00




 TOTALS                                  $                                          $                 $0.00


 o      Restitution amount ordered pursuant to plea agreement
                                                                              ----------
 o      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
        before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(1). All of the payment options on Sheet 6
        may be subject to penalties for delinquency and default, pursuant to 18 U.S.c. S 36 I2(g).

 o      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        o    the interest requirement is waived for the             0      fine      o        restitution

        o the interest requirement for the 0 fine       0 restitution is modified as follows:
 • Findings for the total amount of losses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
                       Case 8:16-cr-00248-PJM Document 229 Filed 12/18/17 Page 6 of 6
Sheet 6 - Judgment in a Criminal Ca<;ewith Supcf'\!iscd Release (Rev. 0712017)                                                 Judgment Page 6 of 6
DEFENDANT:           Nathan Antonio Davis                                                        CASE NUMBER: RWT-8-16-CR-00248-002

                                                       SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      181 Special Assessment ofS200.00 to be paid in full immediately.


B      0 $            immediately, balance due (in accordance with C, D, or E); or

C     0 Not later than               ; or

o     0 Installments to commence ~ __                 day(s) after the date of this judgment.

E     0 In             (e.g. equal weekly. monthly. quarterly) installments of $                   over a period of        year(s) to commence
           when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

o  NO RESTITUTION OR OTHER FINANCIAL                                PENALTY SHALL BE COLLECTED               THROUGH    THE INMATE
FINANCIAL RESPONSIBILITY PROGRAM.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision. the balance shall be paid:

      o    in equal monthly installments during the term of supervision; or

      o    on a nominal payment schedule ofS                     per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

o     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




o     The defendant shall pay the cost of prosecution.

o     The defendant shall pay the following court cost(s):

181 The defendant shall forfeit the defendant's interest in the following property to the United States:
    See attached Order of Forfeiture.
